




NO. 07-05-0435-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



AUGUST 15, 2006



______________________________





THE STATE OF TEXAS, APPELLANT



V.



ADNEY SADAKHOUNE, APPELLEE





_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 49,107-E; HONORABLE ABE LOPEZ, JUDGE



_______________________________



Before QUINN, C.J., and REAVIS and HANCOCK, JJ.

ABATEMENT AND REMAND

After the trial court adjudicated appellee Adney Sadakhoune guilty of soliciting membership in a street gang, he filed a motion for new trial and motion in arrest of judgment, which the trial court granted on February 8, 2006. &nbsp;The State filed this accelerated appeal. &nbsp;The appellate record and State’s brief have both been filed. &nbsp;Appellee’s appointed counsel, Cynthia J. Barela, has failed to file a brief in his behalf despite being granted three extensions of time.

The State’s brief was filed on April 13, 2006, and appellee’s brief was initially due to be filed on May 15, 2006. &nbsp;By her first and second motions for extension of time, counsel indicated she had excessive court appearances that prevented her from devoting sufficient time to research and prepare a brief. &nbsp;In her third motion, counsel again indicated she had insufficient time to research and prepare a brief and was scheduled to be on vacation from June 29, 2006, through July 6, 2006. &nbsp;Resultantly, a final extension in which to file appellee’s brief was granted to July 14, 2006. &nbsp;To date, counsel has not communicated with this Court nor filed appellee’s brief.

In the interest of justice, we abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;
Given the accelerated nature of this appeal, upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following: &nbsp;


whether appellee has been denied effective assistance of counsel given counsel’s failure to file a brief after leaving the impression by her motions for extension of time that she intended to do so
 and, if so, 									

whether appellee is entitled to new appointed counsel for representation in this accelerated appeal.			




The trial court shall cause a hearing to be transcribed. &nbsp;Should it be determined that appellee’s counsel should be replaced, the name, address, telephone number, and state bar number of newly-appointed counsel shall be provided to the Clerk of this Court. &nbsp;Finally, the trial court shall execute findings of fact, conclusions of law, and any necessary orders it may enter regarding the aforementioned issues and cause its findings and conclusions to be included in a supplemental clerk's record. &nbsp;A supplemental record of the hearing shall also be included in the appellate record. &nbsp;Finally, the trial court shall file the supplemental clerk's record and the supplemental reporter's record with the Clerk of this Court by Friday, September 1, 2006.

It is so ordered.

Per Curiam







Do not publish.


